       Case 1:23-cr-00490-SHS          Document 110         Filed 12/25/23     Page 1 of 1




December 25, 2023

VIA ECF

Hon. Sidney H. Stein
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.at
New York, NY 10007-1312

       Re:     United States v. Menendez, et al., S1 23 Cr. 490 (SHS)

Dear Judge Stein,

         We respectfully write to correct an inadvertent error in the letter filed on December 20,
2023 (“Letter”), on behalf of all defendants, seeking an adjournment of the briefing schedule and
trial date in the above-referenced matter. Specifically, the discovery vendor for the defendants
incorrectly loaded one of the data fields for the government’s productions, which had the effect
of misstating the total data size of the discovery. The letter should have stated that the estimated
total size of the government’s productions to date was approximately 3000 gigabytes (or 3
terabytes). While still a massive amount of discovery, it is not the 735 terabytes our letter
misstated. We appreciate the government pointing out this error to us, and regret the
misstatement in our letter.

         That said, the more specific numbers we provided regarding the government’s
productions remain accurate and reflect the defense’s massive workload leading up to trial. As
stated in the Letter, “to date, the government has produced over 6.7 million documents (over 15
million pages), consisting of over 3 million emails and text messages, over 20 search warrant and
cell site applications, and another 1.5 million documents that lack sufficient metadata to readily
categorize them by document type.” These “hard” numbers—actual number of pages of
documents, emails and text messages produced—most directly capture the workload ahead for
the defense and continue to support the modest adjournments requested in the Letter.

Respectfully submitted,

/s/ Adam Fee / Avi Weitzman
Adam Fee / Avi Weitzman




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